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                                #:17506                                       1


    1                        UNITED STATES OF AMERICA

    2                      UNITED STATES DISTRICT COURT

    3                     CENTRAL DISTRICT OF CALIFORNIA

    4                              WESTERN DIVISION

    5

    6                                     - - -

    7                    HONORABLE CONSUELO B. MARSHALL,

    8                UNITED STATES DISTRICT JUDGE PRESIDING

    9                                     - - -

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   11
        GLOBEFILL INCORPORATED, a     )
   12   Canadian corporation          )
                                      )           CERTIFIED COPY
   13               PLAINTIFF,        )
                                      )           CV 10-2034 CBM
   14   VS.                           )
                                      )
   15   ELEMENTS SPIRITS, INC., a     )
        California corporation, and   )
   16   KIM BRANDI, an individual,    )
                                      )
   17               DEFENDANTS.       )
        ______________________________)
   18

   19                       TRIAL DAY EIGHT - VERDICT
                      REPORTER'S TRANSCRIPT OF PROCEEDINGS
   20                        FRIDAY, MARCH 29, 2017
                                   A.M. SESSION
   21                        LOS ANGELES, CALIFORNIA

   22

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                         FEDERAL OFFICIAL COURT REPORTER
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    3    WITNESS               DIRECT          CROSS          REDIRECT   RECROSS
                   (NONE OFFERED.)
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    1    LOS ANGELES, CALIFORNIA; FRIDAY, MARCH 24, 2017

    2                                A.M. SESSION

    3

    4

    5                   THE CLERK:     Calling item No. 1, case number

    6    CV-10-2034:     Globefill Incorporated versus Elements

    7    Spirits, Incorporated, et al.

    8                   Counsel, please state your appearance.

    9                   MR. BERG:     Good morning, Your Honor.

   10                   THE COURT:     Good morning.

   11                   MR. BERG:     David Berg for Globefill.

   12                   I'm here with my partners Jenny Kim, Mike

   13    Fay, our colleagues Zenobia Bivens, Vickie Mery, and our

   14    local counsel and friend Mr. Hernan Vera.             I almost

   15    forgot.    Thank you.

   16                   THE COURT:     Good morning to all.

   17                   MR. HUMMEL:      He has a football team.

   18                   Good morning, Your Honor.

   19                   Keith Hummel for Elements Spirits.

   20                   With me is Thomas Rafferty and Rebecca

   21    Rettig.

   22                   THE COURT:     Good morning.

   23                   MR. MILLER:      Good morning, Your Honor.

   24                   Jon Miller for Kim Brandi.

   25                   THE COURT:     Good morning.
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    1                   So there is a note from the jury.            It is

    2    Note No. 2.

    3                   If you remember, Note No. 1 was the note

    4    advising us of the foreperson and the hours that the

    5    jury expected to be working today.

    6                   So this is Note 2, and it says the jury has

    7    reached a unanimous verdict.          And so we just -- I just

    8    wanted to advise counsel that we have the note.

    9                   The clerk will bring the jury in.            They will

   10    be seated in the jury box.         I'll take a look at the

   11    verdict.    And if I feel that it's in the form that it

   12    should be, in other words, they have unanimously

   13    answered Question No. 1 and Question No. 2, if it's

   14    necessary for them to answer that, then the verdict will

   15    be read.

   16                   If either side wishes to have the jury

   17    polled, I will ask you that question.            We'll poll them

   18    if you wish.      And if everything is in order, then the

   19    Court would thank and excuse the jury.

   20                   Yesterday, I did raise with the parties if

   21    there is another phase or additional evidence to be

   22    presented when you wanted to do that.

   23                   I'm available to do it today.          I'm also

   24    available tomorrow.       And I was interested in a time

   25    estimate.     So I don't know if you had time to discuss
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    1    that.

    2                   MR. BERG:     Your Honor, I think I speak for

    3    both sides.     We would like to submit papers instead of

    4    an evidentiary hearing.         The facts are pretty -- we

    5    believe are pretty cut and dry.

    6                   Mr. Fay, do you agree with that?

    7                   MR. FAY:     Yes, Your Honor.       I spoke with

    8    counsel today, and I think maybe the best way to do it

    9    would be to submit some argument with supporting

   10    exhibits, and then maybe there will be a need for an

   11    evidentiary hearing.        But I think that the principal

   12    issues between the parties are legal.

   13                   THE COURT:     All right.      If that's agreeable,

   14    then after the jury is excused, we can then talk about

   15    when to expect the briefs.

   16                   But does counsel also agree?

   17                   MR. HUMMEL:      It's agreeable to Elements,

   18    Your Honor.

   19                   THE COURT:     Okay.    And then is Brandi

   20    involved in this issue as well?

   21                   MR. MILLER:      I don't believe so, Your Honor.

   22    But --

   23                   THE COURT:     What do the plaintiffs think?

   24    Or have you not --

   25                   MR. FAY:     Well, there's two factual issues,
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    1    Your Honor.     One would be, you know, the facts relating

    2    to any request for a disgorgement and the other would be

    3    attorney fees.

    4                   THE COURT:     Okay.

    5                   MR. FAY:     So I think the facts related to

    6    disgorgement, that's documentation we received from

    7    Elements.     And attorney fees is obviously something that

    8    we have to provide them.         And we discussed the

    9    possibility we might even agree on a number and then

   10    disagree on the law.

   11                   THE COURT:     Okay.    Well, that's acceptable

   12    to me.    And then after I receive the briefs, then if I

   13    felt that an evidentiary hearing was needed or if either

   14    of you felt it was needed, then the Court could schedule

   15    it.

   16                   But I'm not planning to do that today or

   17    tomorrow, and so that's why I raised the question.

   18                   All right.     We're ready to have the clerk

   19    escort the jury in, please.

   20                   And so while the clerk is doing that, I just

   21    want to compliment counsel in the case.             I thought that

   22    both sides did an excellent job representing the clients

   23    that you represent.

   24                   Sometimes clients don't have the opportunity

   25    to see the representation.         They don't always understand
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    1    the issues.     But I just wanted to congratulate for you a

    2    job well done.

    3                   MR. BERG:     Thank you, Your Honor.

    4                   MR. HUMMEL:      Thank you, Your Honor.

    5                   MS. KIM:     Thank you, Your Honor.

    6                   (THE JURORS ENTER THE COURTROOM.)

    7                   THE COURT:     The record should reflect that

    8    we do have our eight deliberating jurors seated in the

    9    courtroom.

   10                   I have a Jury Note No. 2.         It indicates the

   11    jury has reached a unanimous verdict.

   12                   So the portable mic should be with the

   13    foreperson.     And I will ask him to state his name for

   14    the record and then advise the Court if it is true that

   15    the jury has reached a unanimous verdict.

   16                   So where is that portable mike?

   17                   JURY FOREPERSON:       Thanks very much.

   18                   THE COURT:     Would you state your name for

   19    the record, please.

   20                   JURY FOREPERSON:       Yeah, I'm Mathew Humphry.

   21                   THE COURT:     And you are the foreperson of

   22    the jury?

   23                   JURY FOREPERSON:       Yes, Your Honor.

   24                   THE COURT:     And is it correct that the jury

   25    has reached a unanimous verdict?
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    1                   JURY FOREPERSON:       Yes.

    2                   THE COURT:     So if you will give the verdict

    3    form to the bailiff, he'll give it to the clerk and I

    4    will review it.

    5                   JURY FOREPERSON:       Okay.

    6                   THE COURT:     The clerk will read the verdict.

    7                   THE CLERK:     United States District Court,

    8    Central District of California.

    9                   Globefill Incorporated, plaintiff versus

   10    Elements Spirits, Incorporated, and Kim Brandi

   11    defendants.     Case No. 10-2034-CBM-PLA.

   12                   Court's Verdict Form.

   13                   We the jury unanimously find as follows:

   14                   Number 1, do you find the defendants used a

   15    trade dress in a manner that is likely to cause

   16    confusion among ordinary consumers as to the sources,

   17    sponsorship, affiliation, or approval of the parties'

   18    goods?

   19                   See Court Instruction No. 19.

   20                   As to defendant Elements Spirits,

   21    Incorporated, the answer is yes.

   22                   As to defendant Kim Brandi, the answer is

   23    yes.

   24                   If you answered yes to Question 1, proceed

   25    to Question 2.
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     1                  Question 2, do you find the defendants used

     2   the trade dress wilfully or intentionally?

     3                  See Court Instruction No. 21.

     4                  As to defendant Elements Spirits,

     5   Incorporated the answer is yes.

     6                  As to defendant Kim Brandi, the answer is

     7   yes.

     8                  Dated March 29, 2017.

     9                  Signed by the foreperson of the jury.

    10                  THE COURT:      Either side wish to have the

    11   jury polled?

    12                  MR. HUMMEL:      Yes, Your Honor.

    13                  THE COURT:      If the clerk --

    14                  MR. BERG:     We do not, Your Honor.

    15                  THE COURT:      All right.     If the clerk will

    16   begin.

    17                  MR. BERG:     We defer to counsel.

    18                  THE CLERK:      Juror No. 1, is the verdict as

    19   presented and read your verdict?

    20                  JUROR NO. 1:      Yes.

    21                  THE CLERK:      Juror No. 2, is the verdict as

    22   presented and read your verdict?

    23                  JUROR NO. 2:      Yes.

    24                  THE CLERK:      Juror No. 3, is the verdict as

    25   presented and read your verdict?
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     1                  JUROR NO. 3:      Yes.

     2                  THE CLERK:      Juror No. 4, is the verdict as

     3   presented and read your verdict?

     4                  JUROR NO. 4:      Yes.

     5                  THE CLERK:      Juror No. 5, is the verdict as

     6   presented and read your verdict?

     7                  JUROR NO. 5:      Yes.

     8                  THE CLERK:      Juror No. 6, is the verdict as

     9   presented and read your verdict?

    10                  JUROR NO. 6:      Yes.

    11                  THE CLERK:      Juror No. 7, is the verdict as

    12   presented and read your verdict?

    13                  JUROR NO. 7:      Yes.

    14                  THE CLERK:      Juror No. 8, is the verdict as

    15   presented and read your verdict?

    16                  JUROR NO. 8:      Yes.

    17                  THE COURT:      All answered yes.

    18                  So at this time, unless there are matters

    19   that counsel wishes to raise with the Court, the Court

    20   would intend to thank and excuse the jury.

    21                  Anything further from the plaintiffs?

    22                  MR. FAY:     No, Your Honor.

    23                  MR. BERG:     Just our thanks to the jury for

    24   all their service and their decision.

    25                  Thank you so much.
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     1                  THE COURT:      And the defendants?

     2                  MR. HUMMEL:      The same, Your Honor.

     3                  Thank you for your service.

     4                  THE COURT:      Mr. Miller.

     5                  MR. MILLER:      Thank you.

     6                  THE COURT:      So you have fulfilled the duties

     7   and responsibilities that you promised that you would

     8   fulfill when you took your oath as jurors.

     9                  You listened to all the evidence in the

    10   case, listened to the arguments of counsel, the

    11   instructions of law, and then given the exhibits that

    12   were received into evidence and sent into the jury room

    13   to deliberate.       You have done so, and now returned a

    14   verdict.

    15                  So you are now excused from the case.

    16                  And if you are curious about further jury

    17   obligations or whether you will be summoned again this

    18   year, or questions of that type, those can be answered

    19   for you by someone in the jury assembly room.

    20                  So you can go to that location.            They can

    21   answer those questions.         On the other hand, you can

    22   communicate with them in some other way now if you wish

    23   to do so.

    24                  You have jury badges that do need to be

    25   returned.     So I will just the courtroom deputy can they
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     1   return those here, or do they need to go to the jury

     2   assembly room for that purpose?

     3                  THE CLERK:      They can return them to the

     4   assembly room.

     5                  THE COURT:      All right.     It looks like you

     6   need to go there anyway.

     7                  Now that you have been excused from the

     8   case, you are free to discuss, do research, talk about

     9   all of those things that you were precluded from doing

    10   while you were serving as a juror in the case.

    11                  But I always caution the jurors.            We,

    12   meaning the Court, the lawyers, are not permitted to

    13   attempt to question you about how you reached the

    14   verdict.

    15                  So it is fine for you to speak with the

    16   attorneys in the case, if you wish to do so.               Fine for

    17   you to speak with the Court.          But neither the Court nor

    18   counsel will ask you:        How did you arrive at this

    19   verdict?

    20                  That is something that we are not permitted

    21   to do, and we will not make that inquiry.

    22                  There are times, though, that we can learn

    23   valuable lessons from the jury that help us, certainly

    24   helpful to the Court as I impanel other jurors,                  and

    25   helpful to counsel to the extent that they have other
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     1   trials that they may be presenting to jurors.

     2                  For example, for me, yesterday I had not

     3   thought about the fact that when you already have a jury

     4   that's been impaneled but continuing to hear evidence on

     5   a Tuesday, Tuesday being that day when we summon new

     6   jurors, that there is a very long line downstairs, and

     7   some arrangement should probably be made for those who

     8   are already serving to enter the courthouse.

     9                  So that is something that I will speak with

    10   the security about so that we can take care of that.                  So

    11   that was just an unknown to me, even considering that I

    12   have been here for many, many years, I just have not

    13   encountered that issue.

    14                  There are also other things that may have

    15   occurred from the moment that you received your summons

    16   until this moment.        And you may of questions about that.

    17   You may have -- seek answers to some procedure that you

    18   were concerned about.        And if that should be the case,

    19   then I am the person that would attempt to answer those

    20   questions.     Or if I am unable to do so, I would get an

    21   answer from whoever is in a best position to answer the

    22   questions.     And that just helps us with panels to come

    23   in the future.

    24                  If there were anything -- if there was

    25   anything that you noticed while you were with us --
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     1   equipment not working or things not going exactly as you

     2   would like -- you bring that to my attention.               To the

     3   extent that I can do something about it, I will.

     4                  I don't know if I mentioned, but this is

     5   only the second jury that I've tried in this new

     6   courthouse.      So all of you probably realize that we, for

     7   many years, were in a courthouse that was built in the

     8   1930s.    Clearly different architecture, not all this

     9   modern equipment.

    10                  Many of us got accustomed to the old things

    11   and are still adjusting to the newness of this, but we

    12   are finding that things may not be working quite the way

    13   that we expect them to.

    14                  So this morning I understand that the coffee

    15   machine wasn't working for you.           And I'm told that one

    16   answer is that everything is electric in the building is

    17   based on movement.        So when we're not in the room and

    18   we're not moving around, then the lights are not on and

    19   probably nothing else that needs electricity is working.

    20   So I don't know if that's the problem with the coffee

    21   machine, but I am prepared to order a traditional coffee

    22   machine so that in the future jurors who come won't have

    23   that problem.      They'll have another alternative.

    24                  Our bailiff solved the problem for you, as I

    25   understand, and just let those of you who are coffee
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     1   drinkers or needed a hot drink, he escorted you

     2   downstairs so that that could happen.

     3                  So there are lots of small things that those

     4   of us who do this on a daily basis, we get so accustomed

     5   to that we may not even notice the things that you

     6   notice when you're coming into a courtroom, and it is

     7   not the usual activity for you, so you'll notice things

     8   that we don't.

     9                  So I would love to have you bring those to

    10   my attention.

    11                  I am available to speak with any of you who

    12   wish to speak with me, but you don't have to stay.                  You

    13   can always write to me.         It may be that it's a beautiful

    14   day outside, and your interest is just getting outside

    15   since you have fulfilled your duties and have been

    16   excused.

    17                  If you wish to speak to the lawyers, I'm

    18   sure they would be willing to speak to you too.                So

    19   that's just for you to tell us.

    20                  So when the bailiff escorts you out, if any

    21   of you would like to speak with me or like to speak with

    22   the attorneys in the case, let the bailiff know that.

    23   You will have to remain, of course, for that purpose.

    24                  If, on the other hand, you are just ready to

    25   say good-bye, we understand that.            And if there is
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     1   communication for me, you can always write and I will

     2   respond to you.

     3                  So we thank you again for your service in

     4   the case.     I hope you are feeling good about the service

     5   that you've rendered in terms of serving as a juror in a

     6   case.     Without those like yourselves who are willing to

     7   assume this responsibility, the system of justice that

     8   we have in this country would not work because we could

     9   not have jury trials.

    10                  And not every country has jury trials.             We

    11   are actually proud of our system, and we hope you are as

    12   well.     And we again thank you for the service that you

    13   have rendered.

    14                  I'm probably forgetting something.            I see

    15   the clerk looking up at me.          So what is it that I

    16   forgot?

    17                  (COURT AND CLERK CONFER.)

    18                  THE COURT:      Ah, so important.       So we ordered

    19   lunch for you already.         And yesterday I think there was

    20   a slight snag for some of you.           You made had

    21   arrangements, I guess, on Friday to have your lunch

    22   yesterday, but then we provided lunch to you yesterday.

    23                  But lunch has been ordered.          So you may

    24   return to the room and eat lunch there, if you wish to

    25   do so.    I suppose you could take it with you if it's in
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     1   a form that you could do that.

     2                  So if you wish to have lunch -- I don't know

     3   when it will come up, but the clerk can probably tell

     4   us.

     5                  THE CLERK:      Noon.

     6                  THE COURT:      Okay.    So it will come up at

     7   noon.    So pretty soon.       But some of you may just want to

     8   leave.    And if that is your desire, you may do that as

     9   well.

    10                  So that's all I have to say at this point.

    11   But just to thank you again for the service that you

    12   have rendered.

    13                  It may be that if you go up to the jury

    14   office, return the badges, get information that you may

    15   want for future, then by the time you do that and come

    16   back down the lunch may even be here.             So that's an

    17   option as well.

    18                  I also thank the bailiff for the service

    19   that's been rendered.        So here in federal court in civil

    20   cases we typically do not have a bailiff in the

    21   courtroom except when we reach that point that we're

    22   going to have deliberating jurors.            And so we thank him

    23   for his service as well.

    24                  You are now excused.

    25                  THE CLERK:      All rise.
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     1                  (THE JURORS EXIT THE COURTROOM.)

     2                  THE COURT:      So the jury has been excused.

     3   Whether they have questions or want to speak with any of

     4   us, I don't know yet.        But the bailiff would tell us

     5   that immediately.       And if so then I would make the

     6   necessary arrangements.         We would either bring them back

     7   here in the courtroom.         Or the last trial that we had,

     8   just about a week or so ago, we were able to go into the

     9   jury room and speak with them.

    10                  But I have to tell you, it's a pretty small

    11   room.     So not large enough to accommodate all of you.

    12                  So first we'll see if they want to talk to

    13   us.     I will make those arrangements.          If they don't,

    14   then they will leave the building, and hopefully they

    15   will have the lunch that the government is providing.

    16                  Are there matters that counsel wish to

    17   address on the record other than to advise me about the

    18   briefing schedule?        If you've made a decision on that,

    19   you might just want to put that on the record, or you

    20   may want to file a document with the Court like in the

    21   form of a stipulation that sets forth that information.

    22                  MR. FAY:     Yes, Your Honor.       Why don't we do

    23   that.     Give me an opportunity to speak with counsel and

    24   see if we can't come up with a schedule and then file a

    25   stipulation.
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     1                  THE COURT:      And that's acceptable to the

     2   defense?

     3                  MR. HUMMEL:      Of course, Your Honor.

     4                  THE COURT:      Good.

     5                  So anything else?        If not, then I would ask

     6   that you just wait a few minutes here in the courtroom.

     7   The clerk will tell us if the jurors want to leave now

     8   or would like to speak with us.           And as I said, if they

     9   want to speak with Court and counsel, one or the other,

    10   then I will make the necessary arrangements.

    11                  MR. FAY:     Thank you.

    12                  THE COURT:      Thank you.     We are in recess

    13   now.

    14                  (PROCEEDINGS CONCLUDED.)

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     4                  CERTIFICATE OF REPORTER

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     6   COUNTY OF LOS ANGELES            )

     7                                    )   SS.

     8   STATE OF CALIFORNIA              )

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    10   I, SHERI S. KLEEGER, OFFICIAL COURT REPORTER, IN AND FOR

    11   THE UNITED STATES DISTRICT COURT FOR THE CENTRAL

    12   DISTRICT OF CALIFORNIA, DO HEREBY CERTIFY THAT PURSUANT

    13   TO SECTION 753, TITLE 28, UNITED STATES CODE, THE

    14   FOREGOING IS A TRUE AND CORRECT TRANSCRIPT OF THE

    15   STENOGRAPHICALLY REPORTED PROCEEDINGS HELD IN THE

    16   ABOVE-ENTITLED MATTER AND THAT THE TRANSCRIPT PAGE

    17   FORMAT IS IN CONFORMANCE WITH THE REGULATIONS OF THE

    18   JUDICIAL CONFERENCE OF THE UNITED STATES.

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    21   DATE: MARCH 31, 2017

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    23   /S/______________________

    24   SHERI S. KLEEGER, CSR

    25   FEDERAL OFFICIAL COURT REPORTER
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